Case 2:05-CV-02232-BBD-tmp Document 32 Filed 08/08/05 Page 1 of 3 Page|D 8

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IN THE UNITED sTATEs DISTRICT coURT D-'¢-
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 95 AUG __8

wEsTERN DIVISION AHH" 26

 

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ABN AMRO MORTGAGE GROUP, INC., ) ;,;,… rha/izzngle
) "” m
)
)

VS. ) NO. 05-2232~DV
)

OAKLAN'D DEPOSIT BANK, et al., )
)

Defendants. )

 

ORDER OF RECUSAL OF MAGISTRATE JUDGE DIANE K. VESCOVO

 

Pursuant to 28 U.S.C. § 455, the undersigned hereby recuses
herself, sua sponte, from all proceedings in the above-captioned
case.

The clerk is directed to take the appropriate action to
reassign this case and to deliver the magistrate judge’s file to
the magistrate judge who receives the assignment.

IT IS SO ORDERED.

dla/wo K ZM/W'

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE= HJAZ,M,¢‘ §§ a?@d§°

 

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This notice confirms a copy of the document docketed as number 32 in
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Case 2:05-cV-02232-BBD-tmp Document 32 Filed 08/08/05 Page 3 of 3 Page|D 10

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